           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                         WESTERN DIVISION

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )
     v.                             )   Criminal Action No.
                                    )   10-00162-21-CR-W-FJG
DOROTHEA L. CAIN,                   )
                                    )
                Defendant.          )

                      REPORT AND RECOMMENDATION

     On September 29, 2010, defendant filed a motion for a

judicial determination of mental competency.         Defendant was

examined at the Medical Center for Federal Prisoners in Fort

Worth, Texas, by Leslie Powers, Ph.D., a forensic psychologist.

Dr. Powers stated that defendant was competent in a report dated

November 8, 2010.

     On December 16, 2010, I held a competency hearing.

Defendant was present, represented by David Johnson.            The

government was represented by Assistant United States Attorney

Brent Venneman.   The parties stipulated to the contents and

findings of Dr. Powers as the only evidence of whether the

defendant is competent to stand trial and to assist in her

defense (Tr. at 2-3).1

     Based upon the uncontroverted evidence stipulated to by the

parties in this case, I find that the defendant is competent to

stand trial and to assist in her defense.        Therefore, it is


     1
      “Tr”. refers to the transcript of the competency hearing.


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     RECOMMENDED that the court, after making an independent

review of the record and applicable law, enter an order finding

defendant competent to stand trial and to assist in her defense.

     Counsel waived the ten day objection period set forth in 28

U.S.C. § 636(b)(1) (Tr. at 3).      Any objections to this Report and

Recommendation shall be filed by December 20, 2010.




                                        ROBERT E. LARSEN
                                        United States Magistrate Judge

Kansas City, Missouri
December 17, 2010




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